
IN this case the president pronounced the following opinion of this court.
“This is an appeal from a judgment of the district court of Petersburg, reversing a judgment of the county court of Prince George, rendered on motion on a forthcoming bond. The only exception taken by the defendant’s counsel, in the county court, was, that the forthcoming bond, on which the plaintiffs applied for an award of execution, never had been fded in the clerk’s office, as it ought to have been; but the court overruled the exception, (‘ because the said forthcoming bond, before notice of the motion had been written, or given to the defendant, was delivered to the plaintiffs, by a deputy of the sheriff who took the bond,’) and gave judgment accordingly ; which judgment has been reversed by the district court of Petersburg. I am directed to report the opinion of this court, that the judgment of the district court is erroneous, and therefore reversed, and that of the county court affirmed.
